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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 RICHMOND DIVISION

LULA WILLIAMS, et al.,                         )
                                               )
                       Plaintiffs,             )
                                               )
       v.                                      )       Civil Action No. 3:17-cv-461 (REP)
                                               )
BIG PICTURE LOANS, LLC, et al.,                )
                                               )
                       Defendants.             )

RENEE GALLOWAY, et al.,                        )
                                               )
                       Plaintiffs,             )
                                               )
       v.                                      )       Civil Action No. 3:18-cv-406 (REP)
                                               )
BIG PICTURE LOANS, LLC, et al.,                )
                                               )
                       Defendants.             )


MATT MARTORELLO’S EXHIBITS TO ACCOMPANY RESPONSE TO PLAINTIFFS’
         STATEMENT OF POSITION (ECF NO. 784) - VOLUME I

       Matt Martorello, by counsel, files the attached Exhibits A through ZZ referenced in his

Response to Plaintiffs’ Statement of Position. Due to the volume and size of the exhibits, they

are filed under three separate notices identified as Volumes I, II, and III.

       Dated: July 13, 2020

                                               Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        The undersigned counsel certifies that on this 13th day of July, 2020, the foregoing was
filed using the Court’s CM/ECF system, thereby serving a copy on all counsel of record
electronically.

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